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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                              No. 14-746V
                                           Filed: July 8, 2016

* * * * * * * * * * * * * * * *                          UNPUBLISHED
CORY DANIELSON,                              *
                                             *           Special Master Hamilton-Fieldman
              Petitioner,                    *
                                             *           Attorneys’ Fees and Costs;
v.                                           *           Reasonable Amount Requested to
                                             *           which Respondent Does Not Object.
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
              Respondent.                    *
* * * * * * * * * * * * * * * *
Lawrence Disparti, Disparti Law Group, PA, Holiday, FL, for Petitioner.
Lara Englund, United States Department of Justice, Washington, D.C., for Respondent.

                                               DECISION 1

        On August 19, 2014, Cory Danielson (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2012).
Petitioner alleged that human papillomavirus (“HPV”) vaccines administered to him on August
30, 2012 and October 31, 2012 caused him to suffer from pancreatitis. On February 17, 2016,
the undersigned issued a decision awarding compensation to Petitioner.

       On June 16, 2016, Petitioner filed a timely motion for attorneys’ fees and costs
(“Motion”). 3 Petitioner requests compensation for attorneys’ and paralegals’ fees and costs in
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule 18(b), each party
has 14 days within which to request redaction “of any information furnished by that party: (1) that is a
trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
3
 Pursuant to Vaccine Rule 13(a), any request for attorneys’ and costs must be filed no later than 180 days
after the entry of judgment.

                                                      1
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the amount of $22,356.71. Petitioner and her counsel have verified that Petitioner did not
personally incur any costs in pursuit of his claim. See General Order #9 Statement, filed July 5,
2016.

       On June 28, 2016, Respondent filed a Response to the Motion in which she states that she
“does not object to the overall amount sought, as it is not an unreasonable amount to have
incurred for proceedings in this case to date.”

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C.
§ 300aa-15(e). The undersigned finds that this petition was brought in good faith and that there
existed a reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,
pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable
and appropriate. Accordingly, the undersigned hereby awards the amount of $22,356.71, in
the form of a check made payable jointly to Petitioner and Petitioner’s counsel, Lawrence
Disparti, of the Disparti Law Group, PA.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court shall enter judgment in accordance herewith. 4

        IT IS SO ORDERED.

                                                 s/ Lisa Hamilton-Fieldman
                                                 Lisa Hamilton-Fieldman
                                                 Special Master




4
  Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek
review. Vaccine Rule 11(a).

                                                     2
